     Case 3:18-cv-00691-CRS Document 7 Filed 11/26/18 Page 1 of 3 PageID #: 78




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION


EDWARD P. ROGERS                                                                       PLAINTIFF

v.                                                      CIVIL ACTION NO. 3:18CV-P691-CRS

LUTHER LUCKETT CORR. COMPLEX et al.                                                 DEFENDANTS


                    ORDER FOR PAYMENT OF INMATE FILING FEE

        Plaintiff Edward P. Rogers filed an application to proceed without prepayment of fees

(DN 3). Upon consideration, IT IS ORDERED that the application (DN 3) is GRANTED.

        Pursuant to 28 U.S.C. § 1915(b)(1), however, Plaintiff is required to pay the statutory

filing fee of $350.00 under an installment plan. See McGore v. Wrigglesworth, 114 F.3d 601,

604 (6th Cir. 1997) (“When an inmate seeks pauper status, the only issue is whether the inmate

pays the entire fee at the initiation of the proceeding or over a period of time under an installment

plan.”), overruled on other grounds by Jones v. Bock, 549 U.S. 199 (2007).

        On review of Plaintiff’s application and prison trust account statement, the Court shall

assess an initial partial filing fee of $6.85 pursuant to 28 U.S.C. § 1915(b)(1). Upon payment of

that initial partial filing fee, Plaintiff will be obligated to make monthly payments in the amount

of twenty percent of the preceding month’s income credited to his trust account. To accomplish

collection, the Lee Adjustment Center (LAC) is required to send to the Clerk of Court the

initial partial filing fee and thereafter payments from Plaintiff’s prison trust account each time

the amount in the account exceeds $10.00, until the statutory filing fee of $350.00 is paid in full.

28 U.S.C. § 1915(b)(2).
  Case 3:18-cv-00691-CRS Document 7 Filed 11/26/18 Page 2 of 3 PageID #: 79




        IT IS THEREFORE ORDERED that:

        1.         The LAC shall collect from Plaintiff’s prison trust account an initial partial

filing fee in the amount of $6.85 and shall forward the amount to the Clerk of Court. Said

payment shall be clearly identified by Plaintiff’s name, Inmate Identification Number, and

number assigned to this action.

        2.         Thereafter, the LAC shall collect the $343.15 balance of the filing fee by

collecting monthly payments from Plaintiff’s prison trust account in an amount equal to twenty

percent (20%) of the preceding month’s income credited to his trust account and forwarding

payments to the Clerk of Court each time the amount in the account exceeds $10.00 in

accordance with 28 U.S.C. § 1915(b)(2).

        3.         The institution need not issue separate checks for individual plaintiffs. Payment

may be forwarded by the institution in a single check for all plaintiffs in its custody. However,

the institution must clearly delineate each prisoner, his/her case number, his/her Inmate

Identification Number, and the amount to be paid on a ledger accompanying each payment from

the institution.

        4.         All payments shall be made payable to Clerk, U.S. District Court and sent to the

following address:

                                  Office of the Clerk
                                  United States District Court
                                  Western District of Kentucky
                                  601 West Broadway, Ste. 106
                                  Louisville, Kentucky 40202-2249

        5.         The Clerk of Court is directed to open an account for the payment of the filing

fee in this action.




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      Case 3:18-cv-00691-CRS Document 7 Filed 11/26/18 Page 3 of 3 PageID #: 80




          Having addressed the filing-fee issue, the Court must now undertake a preliminary

review of Plaintiff’s complaint under 28 U.S.C. § 1915A. Once the review is complete, an

order will be entered informing the parties of what steps, if any, must be taken.

Date:    November 26, 2018




                                                     ENTERED BY ORDER OF COURT:

                                                     SENIOR JUDGE CHARLES R. SIMPSON III
                                                     UNITED STATES DISTRICT COURT

                                                     VANESSA L. ARMSTRONG, CLERK

                                                          s/ Vanessa L. Armstrong


cc:     Plaintiff, pro se
        Financial Section, USDC, WDKY
        LAC, ATTN: Inmate Accts (#267107), 168 Lee Adjustment Center Drive, Beattyville, KY 41311
4411.005




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